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                     IN THE UNITED STATES DISTRICT COURT
11                 FOR THE EASTERN DISTRICT OF WASHINGTON
                                 AT SPOKANE
12
13 FAYE IRENE GUENTHER,
   an individual,
14                                                 No. 2:22-cv-00272-TOR
                          Plaintiffs,
15                                                 DEFENDANTS’ RESPONSE TO
         v.                                        PLAINTIFF’S MOTION TO
16                                                 DISMISS UNDER 41(a)(2)
   JOSEPH H. EMMONS, individually,
17 AND OSPREY FIELD CONSULTING                     June 20, 2024
   LLC, a limited liability company,               With Oral Argument: 1:30 p.m.
18
                          Defendants.              (Previously noted for 05/30/2024
19                                                 without oral argument)

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 1                                 I.    INTRODUCTION

 2         Plaintiff Faye Guenther has asked the Court to dismiss this case without
 3   prejudice after forcing Defendants Joseph Emmons and his company Osprey Field
 4   Consulting LLC to incur substantial expenses defending against her meritless claims
 5   for nearly two years. Guenther asserts dismissal is appropriate because she has
 6   achieved “the goals of the litigation” by identifying the parties behind the allegedly
 7   defamatory statements at issue. ECF No. 39 (“Mot.”) at 5. But she knew this when
 8   she filed the lawsuit and confirmed it on October 12, 2023—over six months ago.
 9         The Court should dismiss Guenther’s claims with prejudice and allow
10   Defendants to recover attorneys’ fees under RCW 4.84.250.                  Dismissal with
11   prejudice is appropriate here because dismissing without prejudice would cause
12   “legal prejudice” by depriving Defendants of their right to seek attorneys’ fees under
13   RCW 4.84.250. Guenther triggered this fee-shifting statute, and dismissal without
14   prejudice would deny Defendants their right to seek relief under it. See § III.A.
15         If the Court grants dismissal without prejudice, it should condition dismissal
16   on Guenther’s payment of Defendants’ attorneys’ fees. Courts routinely award fees
17   as a condition of dismissal without prejudice, and such an award is particularly
18   appropriate here, given Guenther’s delay in bringing this motion. See § III.B.
19                          II.       FACTUAL BACKGROUND
20         A.     Case Initiation
21         Guenther filed this action in state court on July 25, 2022, asserting claims for

22   defamation and false light. ECF No. 1-2. Her union, United Food and Commercial

23   Workers (UFCW) Local 3000, and its predecessors were also named plaintiffs. Id.

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 1   The Complaint alleges Emmons distributed a flyer that accused Guenther of helping
 2   union leaders—Eric Renner and Angel Gonzalez—hide from sexual harassment
 3   claims before a proposed union merger. See id. ¶¶ 3.2-3.10; ECF No. 10-1 (“Flyer”).
 4         On September 7, 2022, Defendants sent Guenther a request under
 5   RCW 7.96.050 for “all reasonably available information material to the falsity of the
 6   statements [she] allege[s] are defamatory or otherwise actionable.” Declaration of
 7   John DiLorenzo (“DiLorenzo Decl.”) ¶ 3 & Ex. 2.              RCW 7.96.050 requires
 8   defamation plaintiffs to either disclose evidence of falsity or forego reputational and
 9   presumed damages. Guenther produced nothing in response. Id. ¶ 3.
10         Given the parties were diverse under 28 U.S.C. § 1332(a)(1), Defendants
11   repeatedly asked Guenther to disclose the amount in controversy to determine
12   whether the case was removable. Id. ¶ 2 & Ex. 1. She did not. Id. As a result,
13   Defendants filed a motion to dismiss under Washington’s anti-SLAPP statute,
14   RCW 4.105.020, in state court. Id. ¶ 4. On October 24, 2022, in response to a
15   question on the court’s Civil Joint Case Status Report, Guenther stated damages
16   were “not less than $250,000.” ECF No. 1 ¶ 17; ECF No. 1-1. Defendants promptly
17   removed to this Court, ECF No. 1, and filed another motion to dismiss, which the
18   Court denied. ECF No. 21. The Court also dismissed the union plaintiffs. Id. at 12.
19         B.     Discovery
20         On July 13, 2023, Guenther served Rule 26(a) initial disclosures, listing 27
21   specific categories of documents “in her possession, custody, and/or control” that
22   she “may use to support her claims.” DiLorenzo Decl. Ex. 3 at 7-10. She also stated
23   “[her] damages are reputational,” and she would “make available for inspection …

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 1   non-privileged documents … that supports [sic] her contention.” Id. at 10-11.
 2         On September 6, 2023, Guenther deposed Emmons, and on October 12, 2023,
 3   she deposed Mike Selvaggio. DiLorenzo Decl. ¶¶ 6, 22. Selvaggio testified he
 4   created the Flyer and engaged Emmons to help distribute it on behalf of UFCW 555.
 5   ECF No. 40-2. Meanwhile, on October 5, 2023, Defendants served Guenther with
 6   18 RFPs, which sought all documents referenced in her initial disclosures, among
 7   others. DiLorenzo Decl. ¶ 7 & Ex. 4. Defendants also served subpoenas on UFCW
 8   International, UFCW 3000, UFCW 367, Renner, and Mike Hines, and deposed Jeff
 9   Anderson, the anonymous informant described in the Complaint. Id. ¶¶ 23-28.
10   Defendants attempted to subpoena Gonzalez, but he evaded service. Id. ¶ 29, Ex.19.
11         Over the next six months, Guenther produced a total of 12 documents, all
12   supposedly responsive to a single RFP. Id. ¶¶ 11-12. None related to her claims.
13   Id. Guenther and UFCW 3000 withheld documents related to the truth of the Flyer’s
14   statements, purportedly based on non-disclosure agreements Guenther’s counsel
15   negotiated (“NDAs”). Id. ¶ 24; ECF No. 35 at 4-5, 8-9; ECF No. 36 ¶¶ 5-7, 11; ECF
16   No. 36-11. This forced Defendants to spend months seeking the NDA parties’
17   consent to disclosure of the discovery Defendants sought, and ultimately required
18   Defendants to move to compel. ECF No. 36 ¶¶ 10-16; ECF No. 35. In granting
19   Defendants’ motion, the Court recognized “an NDA or confidentiality agreement is
20   not a valid basis for withholding discovery.” ECF No. 38 at 8 (citation omitted).
21         The Court ordered that all discovery subject to the NDAs may be used “only
22   for purposes of this litigation.” Id. at 9. UFCW 3000 and Renner produced docu-
23   ments subject to the NDAs, and on March 11 and 12, 2024, Defendants deposed

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 1   three of the individuals who had signed the NDAs after complaining of Renner’s
 2   harassment. DiLorenzo Decl. ¶¶ 24, 27, 30-32. Based on this evidence, which
 3   showed that Guenther’s counsel Aaron Streepy had negotiated the NDAs days
 4   before Guenther and Renner initiated a union merger allowing Renner to maintain a
 5   high-paying position in the union despite the complaints, Defendants informed
 6   Guenther’s counsel they intended to depose Streepy. Id. ¶ 14; see also id. ¶ 17.
 7         Defendants also sent Guenther a letter indicating they would seek court
 8   intervention if she did not promptly produce documents in response to Defendants’
 9   RFPs. Id. Ex. 7. On March 12, 2024, Guenther’s counsel said they would produce
10   all outstanding documents within a week. Id. ¶ 14. They did not do so. Id. ¶ 15.
11         Instead, on April 3, 2024, Guenther moved to voluntarily dismiss her claims,
12   ECF No. 39, and two days later, she sought a stay of discovery pending resolution
13   of her motion. DiLorenzo Decl. ¶ 16 & Ex. 8. On April 17, 2024, the Court denied
14   Guenther’s requested stay and stated “Mr. Streepy’s deposition can be taken.” Id.
15   Ex. 9 at 9. Despite this ruling, Streepy filed a motion to quash in the Western District
16   of Washington and refused to consent to transfer to this Court. Id. ¶ 19 & Ex. 10.
17   Defendants have since noticed depositions of Guenther and Renner. Id. ¶¶ 21, 32.
18         C.     Evidence

19         Through discovery, Defendants have gathered evidence showing the truth of

20   the Flyer’s statement that Guenther (then-President of UFCW 21) helped Renner

21   (President of UFCW 1439) “hide from sexual harassment charges” through a

22   merger. ECF No. 10-1. In August 2021, seven individuals complained of Renner’s

23   sexual harassment. ECF No. 36-1.

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 2                                                . DiLorenzo Decl. Exs. 17-18. The
 3   complainants signed the NDAs on the condition that
 4                 . Id. Ex. 16; Ex. 20 at 10-13, 20, 22-23; Ex. 21 at 3-5, 7-13, 19-21.
 5   The last NDA was signed October 9, 2021. Id. Ex. 16; Ex. 22. Less than two weeks
 6   later, Guenther, her counsel, and Renner were preparing documents to initiate the
 7   merger of UFCW 21 and UFCW 1439, allowing Renner to maintain his high-paying
 8   position in the newly formed UFCW 3000 notwithstanding the sexual harassment
 9   complaints against him and his agreement to resign. Id. Exs. 11-12; Ex. 13 (Renner-
10   UFCW 3000 contract). Yet, the NDAs continue to prohibit the complainants from
11   discussing their claims against Renner. DiLorenzo Decl. Ex. 16.
12         Because Guenther did not begin producing documents in response to 17 of 18
13   RFPs until after the April 17, 2024, hearing, when the Court directed her to do so,
14   Defendants are still developing evidence to show the truth of the Flyer’s statement
15   concerning Gonzalez.
16         Documents Guenther produced under the Court’s April 17, 2024, ruling show
17   she knew that UFCW 555 was responsible for the Flyer before filing this lawsuit.
18   Id. Exs. 14-15. Guenther did not take any further discovery after confirming this
19   fact in Selvaggio’s deposition on October 12, 2023, id. ¶ 22, or add defendants.
20         D.     Invocation of RCW 4.84.250
21         On February 7, 2024, after Defendants filed their motion to compel production
22   of the NDAs and related evidence, Guenther’s counsel sent Defendants a letter titled
23   “OFFER OF SETTLEMENT—RCW 4.84.250 & FRE 408.” Id. Ex. 24. The letter

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 1    stated it was “notice of the applicability of RCW 4.84.250,” informed Defendants
 2    that Guenther’s damages are “under $10,000,” and contained a settlement offer. Id.
 3    The offer required acceptance before the Court ruled on Defendants’ pending motion
 4    to compel. Id. Defendants declined to accept the offer. Id. ¶ 34 & Ex. 25.
 5                   III.   LEGAL AUTHORITY AND ARGUMENT
 6          A.     The Court Should Dismiss With Prejudice.
 7          On a Rule 41(a)(2) motion for dismissal without prejudice, “the district court

 8    must determine whether the defendant will suffer some plain legal prejudice as a

 9    result of the dismissal.” Westlands Water Dist. v. United States, 100 F.3d 94, 96

10    (9th Cir. 1996). If the answer is yes, the court may dismiss with prejudice. Kamal

11    v. Eden Creamery, LLC, 88 F.4th 1268, 1279 (9th Cir. 2023). “Legal prejudice”

12    means prejudice to a legal interest, legal claim, or legal argument. Id. at 1280. A

13    party suffers “legal prejudice” when they lose “their ability to move for attorney’s

14    fees.” United States v. Ito, 472 F. App’x 841, 842 (9th Cir. 2012); see, e.g., Dental

15    Health Servs. Inc. v. Miller, 2024 WL 1173803, at *2-3 (W.D. Wash. Mar. 19, 2024)

16    (dismissing claims with prejudice because dismissal without prejudice would

17    deprive defendant of “prevailing party status” necessary to seek attorneys’ fees).

18          Here, dismissal without prejudice would cause legal prejudice because it

19    would deprive Defendants of their right to recover fees under RCW 4.84.250. RCW

20    4.84.250 provides that attorneys’ fees “shall be taxed and allowed to the prevailing

21    party as part of the costs of the action” where the damages “pleaded” are $10,000 or

22    less. A party may “plead” damages in any manner that puts “the other party on

23    notice or constructive notice of” of their intent to trigger RCW 4.84.250. Pierson v.

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 1    Hernandez, 149 Wn. App. 297, 306 (2009) (interrogatory answer constituted
 2    “pleading” under RCW 4.84.250). A defendant is “the prevailing party” “if the
 3    plaintiff … recovers nothing.” RCW 4.84.270. Dismissal without prejudice results
 4    in no prevailing party. AllianceOne Receivables Mgmt., Inc. v. Lewis, 180 Wn.2d
 5    389, 396-99 (2014).
 6             RCW 4.84.250 applies here because Guenther expressly invoked it and stated
 7    her damages are “under $10,000.” DiLorenzo Decl. Ex. 24. Her letter qualifies as
 8    a “pleading” under the statute because it put Defendants on notice of her intent to
 9    seek fees under RCW 4.84.250.1 Although not necessary, Defendants similarly put
10    Guenther on notice of their intent to seek fees should they prevail. Id. Ex. 25.
11    Guenther now moves for dismissal without prejudice. If granted, such a dismissal
12    would preclude Defendants from exercising their statutory right to fees under RCW
13    4.84.250-.270, which they would otherwise have as the prevailing party. Elliott Bay
14    Adjustment Co., Inc. v. Dacumos, 200 Wn. App. 208, 214, 218 (2017) (where court
15    grants dismissal with prejudice on plaintiff’s motion, defendant is prevailing party
16    for purposes of RCW 4.84.250). This constitutes legal prejudice. See Dental, 2024
17    WL 1173803, at *2-3 (collecting cases).
18             Guenther argues that cost of defense alone does not amount to legal prejudice.
19    Mot. 4. But where, as here, Defendants have a statutory right to seek fees, loss of
20
21    1
          That the letter cited FRE 408 does not preclude Defendants from relying on it here,
22    as Guenther used it to invoke RCW 4.84.250 for her own benefit. See DiLorenzo
23    Decl. Ex. 24. Cf. Comer v. Micor, Inc., 436 F.3d 1098, 1101 (9th Cir. 2006).

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 1    that right does cause legal prejudice. Ito, 472 F. App’x at 842; e.g., GDS Indus., Inc.
 2    v. Great Am. Ins. Co., 2016 WL 6962866, at *3 (S.D. Cal. Nov. 29, 2016).
 3          Accordingly, the Court should dismiss with prejudice and allow Defendants
 4    an opportunity to move for attorneys’ fees and costs under RCW 4.84.250.
 5          B.     Alternatively, the Court Should Condition Guenther’s Requested
                   Dismissal Without Prejudice on Payment of Attorneys’ Fees.
 6
 7          If the Court permits dismissal without prejudice, and thus allows Guenther to
 8    assert the same claims in a future action, the Court should condition dismissal on
 9    Guenther’s payment of Defendants’ attorneys’ fees. Under Rule 41(a)(2), courts
10    have discretion to condition dismissal “on terms that [it] considers proper,” including
11    an award of attorneys’ fees for work that would not be useful in future litigation.
12    Kamal, 88 F.4th at 1286-87. Guenther asserts that “legal prejudice” is required for
13    an award of fees and costs. Mot. 6. That is incorrect. “[C]ourts routinely impose
14    the condition of costs and fees on a voluntary dismissal,” absent legal prejudice.
15    ME2 Prods., Inc. v. Sheldon, 2017 WL 4769121, at *3 (D. Or. Sept. 21, 2017) (citing
16    Stevedoring Servs. of Am. v. Armilla Int’l B.V., 889 F.2d 919, 921 (9th Cir. 1989)),
17    report & recommendation adopted, 2017 WL 4683924 (D. Or. Oct. 18, 2017); see,
18    e.g., Kamal, 88 F.4th at 1285, 1287 (finding no legal prejudice but remanding for
19    consideration of whether to award fees as condition of dismissal); Telegram
20    Messenger Inc. v. Lantah, LLC, 2020 WL 5074399, at *5 (N.D. Cal. Aug. 24, 2020).
21          When determining whether to award fees and costs, courts consider: “(1) any
22    excessive and duplicative expense of a second litigation; (2) the effort and expense
23    incurred by a defendant in preparing for trial; (3) the extent to which the litigation

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 1    has progressed; and (4) the plaintiff’s diligence in moving to dismiss.” ME2, 2017
 2    WL 4769121, at *3. All four factors weigh in favor of awarding fees and costs here.
 3          First, Defendants will incur excessive and duplicative expenses if Guenther
 4    refiles her claims. Much of the evidence Defendants have gathered showing the
 5    Flyer’s statements are true is subject to the Court’s Order limiting use of that material
 6    to this case. ECF No. 38 at 9-10. Defendants also cannot reuse in future litigation
 7    their efforts in removing the case, moving to dismiss, moving to compel production
 8    of documents, or responding to this motion, among other expenses.
 9          Second, Defendants have expended substantial resources defending against
10    Guenther’s claims in preparation for trial. Counsel has served at least ten third-party
11    subpoenas, traveled to Spokane for depositions, and moved to compel production of
12    documents.     Meanwhile, Guenther has unnecessarily increased Defendants’
13    expenses at every turn. She withheld the amount in controversy at the case’s outset,
14    forcing Defendants to litigate her claims in state court for months. DiLorenzo Decl.
15    ¶ 2. She and her union withheld critical discovery based on a confidentiality
16    provision that her counsel negotiated, forcing Defendants to seek other parties’
17    consent to disclosure and ultimately to obtain relief from the Court. Id. ¶ 24.
18    Guenther continued to withhold nearly all documents responsive to Defendants’
19    RFPs until the Court ordered her to produce them on April 17, 2024—over six
20    months after Defendants served the requests. Id. ¶¶ 13-18. And even after the Court
21    ordered Streepy’s deposition to proceed, Streepy moved to quash in another district
22    and opposed a transfer to this Court, which is familiar with the facts. Id. ¶ 19, Ex.10.
23          Third, the case has progressed to nearly the close of discovery. The parties

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 1    have litigated two motions to dismiss and conducted extensive discovery, including
 2    numerous third-party subpoenas and depositions. The discovery deadline is June
 3    26, 2024. ECF No. 34 at 3.
 4          Fourth, Guenther waited almost six months after she “accomplished the goals
 5    of the litigation” before moving to dismiss her claims. Mot. 5. She purportedly
 6    achieved her “goals” in the Emmons and Selvaggio depositions on September 6 and
 7    October 12, 2023, id. at 2, after which she took no further discovery. Yet, Guenther
 8    did not move to dismiss until April 3, 2024. In that time, Defendants continued to
 9    defend against her claims, including by taking third-party discovery, multiple
10    depositions, and bringing a motion to compel (ECF No. 35). DiLorenzo Decl. ¶¶ 23-
11    31; id. ¶ 35. Had Guenther acted diligently, those costs would have been avoided.
12          Moreover, the evidence to date indicates Guenther’s claims are meritless. See
13    supra § II.C. Guenther never responded to Defendants’ RCW 7.96.050 request for
14    evidence of falsity. DiLorenzo Decl. ¶ 3. The lawsuit was a fishing expedition—as
15    her motion concedes. Mot. 6. Yet, Guenther asks the Court for the opportunity to
16    reassert her claims in a future case. If the Court permits her to do so, Defendants are
17    entitled to attorneys’ fees and costs.
18                                      IV.    CONCLUSION
19          For these reasons, Defendants respectfully request the Court dismiss
20    Guenther’s claims with prejudice and permit Defendants to file a motion for
21    attorneys’ fees under RCW 4.84.250. Alternatively, the Court should require
22    Guenther to pay Defendants’ attorneys’ fees and costs as a condition of dismissal, in
23    an amount to be determined on subsequent motion.

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            DATED this 3rd day of May, 2024.
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 1                              CERTIFICATE OF SERVICE

 2          I hereby certify that on May 3, 2024, I caused the document to which this
      certificate is attached to be electronically filed with the Clerk of the Court using
 3
      the CM/ECF system which will send notification of such filing to the following:
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            I declare under penalty of perjury that the foregoing is true and accurate.
11
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